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 1   THOMAS A. JOHNSON, #119203
     400 Capitol Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Defendant Alvaro Gomez
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 5
                          IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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 8                                               )   Case No.: 2:07-CR-00248-07-WBS
     UNITED STATES OF AMERICA,                   )
 9                                               )   STIPULATION AND ORDER TO
                   Plaintiff,                    )   CONTINUE STATUS CONFERENCE
10                                               )
         v.                                      )   Date:  July 23, 2012
11   ALVARO GOMEZ,                               )   Time: 9:00 a.m.
                                                 )   Judge: Hon. William B. Shubb
12                 Defendant.                    )
                                                 )
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14
            IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15
     Status Conference regarding Defendant’s request for new counsel which is scheduled for
16
     July 9, 2012 at 9:00 a.m. is continued to July 23, 2012 at 9:00 a.m. in the same
17
     courtroom. Defense counsel, Thomas A. Johnson, is requesting the continuance because
18
     he is unavailable on July 9, 2012. Jason Hitt, Assistant United States Attorney, and
19
     Thomas A. Johnson, Defendant’s attorney, both agree to this continuance.
20
21
     IT IS SO STIPULATED.
22
23   DATED: July 5, 2012                      By:     /s/ Thomas A. Johnson_____
                                                      THOMAS A. JOHNSON
24                                                    Attorney for Defendant
                                                      ALVARO GOMEZ
25
26   DATED: July 5, 2012                              BENJAMIN WAGNER
                                                      United States Attorney
27
                                               By:    /s/ Thomas A. Johnson for_
28                                                    Jason Hitt
                                                      Assistant U.S. Attorney



                                STIPULATION AND ORDER              -1-
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 1   IT IS SO ORDERED.
 2
 3   Dated: July 6, 2012

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                           STIPULATION AND ORDER         -2-
